                                                                                                                          Case 2:21-cv-01868-JAD-EJY Document 5 Filed 11/03/21 Page 1 of 2



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                                                                                                                        Attorney for Defendant
                                                                                                                      6 Discover Bank

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                                                                                                                      8                             UNITED STATES DISTRICT COURT
                                                                                                                      9                                     DISTRICT OF NEVADA
                                                                                                                     10 EMMA PATRICIO,                                     CASE NO. 2:21-cv-00-01868-EAD-EJY
                                                                                                                     11           Plaintiff,                               STIPULATION AND ORDER TO
                                                                                                                     12 v.                                                 EXTEND TIME FOR DISCOVER
                                                                                                                                                                           FINANCIAL SERVICES LLC TO
                    1980 Festival Plaza Drive, Suite 900


                                                                                     702.471.7000 FAX 702.471.7070




                                                                                                                     13 EXPERIAN INFORMATION                               RESPOND TO PLAINTIFF’S
                                                           Las Vegas, Nevada 89135
BALLARD SPAHR LLP




                                                                                                                        SOLUTIONS, INC.; EQUIFAX                           COMPLAINT
                                                                                                                     14 INFORMATION SERVICES, LLC;
                                                                                                                        TRANS UNION, LLC; and DISCOVER                     (First Request)
                                                                                                                     15 BANK,

                                                                                                                     16           Defendants.
                                                                                                                     17           Plaintiff      Emma   Patricio   (“Plaintiff”)   and   Defendant   Discover   Bank
                                                                                                                     18 (“Discover”)1 stipulate and agree that Discover has up to and including November 19,

                                                                                                                     19 2021 to respond to Plaintiff’s Complaint (ECF No. 1), to provide Discover additional

                                                                                                                     20 time to investigate Plaintiff’s allegations and for Discover to prepare a response. The

                                                                                                                     21 current deadline to file a response is November 5, 2021. Therefore, pursuant to LR

                                                                                                                     22 IA 6-1, this stipulation is timely.

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                                                                                                                         By filing this Stipulation, Discover is not waiving any affirmative defenses it may
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                                                                                                                     28 have in this matter, including, but not limited to, lack of personal jurisdiction.


                                                                                                                          DMFIRM #400369303 v2
                                                                                                                          Case 2:21-cv-01868-JAD-EJY Document 5 Filed 11/03/21 Page 2 of 2



                                                                                                                     1            This is the first request for an extension, and it is made in good faith and not

                                                                                                                     2 for purposes of delay.

                                                                                                                     3            Dated: November 3, 2021.

                                                                                                                     4 BALLARD SPAHR LLP                                 KIND LAW
                                                                                                                     5
                                                                                                                       By: /s/ Joel E. Tasca                             By: /s/ Michael Kind
                                                                                                                     6 Joel E. Tasca, Esq.                               Michael Kind, Esq.
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                                                                                                                       Attorneys for Defendant                           FREEDOM LAW FIRM
                                                                                                                     9 Discover Bank

                                                                                                                     10                                                  By: /s/ Gerardo Avalos
                                                                                                                                                                         George Haines, Esq.
                                                                                                                     11                                                  Nevada Bar No. 9411
                                                                                                                                                                         Gerardo Avalos
                                                                                                                     12                                                  Nevada Bar No. 15171
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                                                                                                                     14
                                                                                                                                                                         Attorney for Plaintiff
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                                                                                                                     17                                           ORDER
                                                                                                                     18           IT IS SO ORDERED:
                                                                                                                     19

                                                                                                                     20
                                                                                                                                                                  UNITED STATES MAGISTRATE JUDGE
                                                                                                                     21
                                                                                                                                                                                 November 3, 2021
                                                                                                                     22                                           DATED:

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